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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 COALITION FOR HUMANE IMMIGRANT RIGHTS, et
 al.,

     Plaintiffs,

     v.                                                              Case No.: 1:25-cv-0872

 KRISTI NOEM, in her official capacity as Secretary of
 Homeland Security, et al.,

     Defendants.


                           DECLARATION OF ENRIQUE ESPINOZA

I, Enrique Espinoza, upon my personal knowledge, hereby declare as follows:

   1. I am over the age of 18 and competent to testify to the facts and matters set forth herein.

   2. I am a Staff Attorney in the Immigration Clinic at the Chicago-Kent College of Law, and

          I am an attorney in good standing of the State Bar of Illinois. I have been practicing

          immigration law, including removal defense, for 2 years. I am the counsel of record for

          A.A.A., a Venezuelan national who was paroled into the United States on October 26,

          2023, at the Laredo, Texas port of entry and who now appears to be targeted for expedited

          removal by U.S. Immigration and Customs Enforcement (ICE).


                                                A.A.A.

   3. On October 26, 2023, U.S. Customs and Border Protection (CBP) paroled A.A.A. into the

          United States and simultaneously served him with a Notice to Appear (“NTA”). Attached

          as Exhibit A to this declaration is a true and correct copy of A.A.A.’s Notice to Appear

          with all personally identifiable information redacted.
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4. On December 13, 2023, A.A.A.—then unrepresented—timely filed Form I-589

   (Application for Asylum) with the Immigration Court in Annandale, Virginia, describing

   in detail his well-founded fear of persecution if returned to Venezuela.

5. The Immigration Court initially set a master calendar hearing for September 26, 2024,

   before the Honorable Immigration Judge Sherease R. Pratt. On August 5, 2024, A.A.A.

   filed a pro se Motion to Change Venue to Chicago, Illinois; Judge Pratt granted the

   motion the very next day.

6. On May 23, 2025, A.A.A. appeared—still unrepresented—before the Honorable

   Immigration Judge Ana Mencini in Chicago. Judge Mencini granted A.A.A. a

   continuance to obtain counsel and rescheduled the master calendar hearing for

   August 13, 2026. Attached as Exhibit B to this declaration is a true and correct copy of

   the Notice of In-person Hearing for a master calendar hearing on August 13, 2026 with

   all personally identifiable information redacted. No other issues were raised, and A.A.A.

   was excused from the courtroom.

7. Immediately after leaving the courtroom on May 23, 2025, two plain-clothes officers

   speaking Spanish approached A.A.A. and told him he needed to accompany them because

   “the government was dismissing the case against him.” No such motion had been filed or

   discussed on the record, and nothing in the EOIR Case Access System (ECAS) suggested

   pending action by the Department of Homeland Security (DHS) at that time.

8. The officers escorted A.A.A. to a small interview room and presented English-language

   documents, instructing him—again in Spanish—that signing was “just part of the

   process.” Believing he had no choice, A.A.A. signed.




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9. During this interaction, A.A.A. recalled that one officer stated—in Spanish—that “the

   government was dismissing the case against him and would be seeking expedited

   removal.” Although A.A.A. is not a lawyer and lacks formal legal education, he repeated

   terms such as "expedited removal" and "motion to dismiss" during my subsequent

   interview with him. His use of such precise legal language, which he could only have

   heard during that encounter, strengthens the credibility of his account.

10. The officers then transported A.A.A. to the Broadview, Illinois detention facility.

   Notably, EOIR system still categorized his case as non-detained.

11. On May 24, 2025, I entered my appearance with ICE via electronic Form G-28 and, on

   May 25, 2025, filed my notice of appearance with EOIR. At that time, ECAS still

   contained no DHS motion to dismiss or terminate.

12. That same day—without prior notice—ICE transferred A.A.A. to the Kay County

   Detention Center in Oklahoma. I learned of the transfer only through an automated ICE

   notification after my appearance had been accepted.

13. Efforts to contact ICE’s Chicago Field Office proved futile; published telephone numbers

   were either disconnected or went unanswered. Kay County staff confirmed A.A.A.’s

   physical presence but, because EOIR still listed the case in Chicago, were not able to

   provide the name of the assigned deportation officer or more information.

14. During my communications with A.A.A. (by phone and videoconference), he described

   overcrowded conditions: approximately 200 detainees housed in four cells of roughly 50

   men each, with limited recreation of forty (40) minutes per day and insufficient beds

   forcing some detainees to sleep on the floor.




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15. On May 29, 2025—six days after A.A.A.’s seizure—DHS finally uploaded several

   documents to ECAS, including the forms A.A.A. had been compelled to sign. One form

   purport to waive his right to appear before an Immigration Judge to review his custody

   determination; A.A.A. emphatically denies understanding this was the effect of his

   signature. Attached as Exhibit C to this declaration is a true and correct copy of this

   custody determination form with all personally identifiable information redacted.

16. On May 30, 2025, EOIR transferred venue to the Oklahoma City Immigration Court. A

   master calendar hearing is now set for June 5, 2025, before the Honorable Immigration

   Judge Jacinto Palomino.

17. ICE’s sudden detention and out-of-state transfer, undertaken without notice to counsel or

   a pending motion before the Court, have gravely prejudiced A.A.A.’s ability to prepare

   his asylum case and undermined his faith in the integrity of these proceedings.

18. Relocating him to Oklahoma—hundreds of miles from his pro bono counsel, community

   ties, and evidence—has effectively deprived him of meaningful access to representation.

19. The misinformation conveyed by ICE officers, coupled with the coercive circumstances

   under which A.A.A. signed English-language documents he did not comprehend, calls

   into question the voluntariness and validity of any purported waivers.

20. Prolonged confinement in overcrowded, restrictive conditions has inflicted severe

   psychological distress on A.A.A. He has expressed hopelessness and a desire to abandon

   his asylum claim—even though return to Venezuela would expose him to the very harms

   Congress intended our asylum laws to prevent.

21. I have reviewed the contents of this declaration with A.A.A. during a Videoconference,

   and he has confirmed that all statements about his immigration history, immigration




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       status, and immigration case are true and correct to the best of his knowledge. It is not

       feasible for A.A.A. to prepare his own signed declaration, because he is in immigration

       detention and I have only been able to review the documents in his immigration file and

       during our Videoconference. I am not able to visit him in person.


   I declare under penalty of perjury and under the laws of the United States that the foregoing

is true and correct to the best of my knowledge.

                                                       Executed in Chicago, Illinois on June 4, 2025



                                                             _______________________________
                                                                       Enrique Espinoza




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                      EXHIBIT A




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                      EXHIBIT B




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                     EXHIBIT C




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